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                 Exhibit A
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6-K 1 ea123137-6k_safet.htm REPORT OF FOREIGN PRIVATE ISSUER

                                                      UNITED STATES
                                          SECURITIES AND EXCHANGE COMMISSION
                                                   Washington, D.C. 20549

                                                              Form 6-K

                                                   Report of Foreign Private Issuer
                                                 Pursuant to Rule 13a-16 or 15d-16
                                              under the Securities Exchange Act of 1934

                                                     For the month of: June 2020

                                                 Commission file number: 001-38610

                                                       SAFE-T GROUP LTD.
                                            (Translation of registrant’s name into English)

                                                          8 Abba Eban Ave.
                                                      Herzliya, 4672526 Israel
                                                (Address of principal executive offices)

Indicate by check mark whether the registrant files or will file annual reports under cover of Form 20-F or Form 40-F.

                                                   Form 20-F ☒         Form 40-F ☐

Indicate by check mark if the registrant is submitting the Form 6-K in paper as permitted by Regulations S-T Rule 101(b)(1):_____

Indicate by check mark if the registrant is submitting the Form 6-K in paper as permitted by Regulations S-T Rule 101(b)(7):_____
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On June 11, 2020, Safe-T Group Ltd. (the “Company”) was informed that Luminati Networks Ltd. had filed an action alleging
infringement of patent against several companies, including against the Company’s wholly owned subsidiary, NetNut Ltd. (“NetNut”).
NetNut has not yet been served. The action was filed in the United States District Court, Eastern District of Texas, Marshal Division.

Based on an initial evaluation of the claim, NetNut believes that the action is without merits and intends to vigorously defend itself
against any such action.

                                                   Forward-Looking Statements

This report contains forward-looking statements within the meaning of the “safe harbor” provisions of the Private Securities Litigation
Reform Act of 1995 and other Federal securities laws. Words such as “expects,” “anticipates,” “intends,” “plans,” “believes,” “seeks,”
“estimates” and similar expressions or variations of such words are intended to identify forward-looking statements. For example, the
Company is using forward-looking statements in this report when it discusses the potential legal action against NetNut. Because such
statements deal with future events and are based on the Company’s current expectations, they are subject to various risks and
uncertainties and actual results, performance or achievements of the Company could differ materially from those described in or
implied by the statements in this report. The forward-looking statements contained or implied in this report are subject to other risks
and uncertainties, including those discussed under the heading “Risk Factors” in the Company’s annual report on Form 20-F filed with
the Securities and Exchange Commission (“SEC”) on March 31, 2020, and in any subsequent filings with the SEC. Except as
otherwise required by law, the Company undertakes no obligation to publicly release any revisions to these forward-looking statements
to reflect events or circumstances after the date hereof or to reflect the occurrence of unanticipated events.

This report on Form 6-K is incorporated by reference into the registration statements Form S-8 (File No. 333-233510) and Form F-3
(File Nos. 333-233724, 333-235367, 333-235368 and 333-236030) of the Company, filed with the Securities and Exchange
Commission, to be a part thereof from the date on which this report is submitted, to the extent not superseded by documents or reports
subsequently filed or furnished.


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                                                         SIGNATURES

Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its
behalf by the undersigned, thereunto duly authorized.

                                                                              Safe-T Group Ltd.
                                                                              (Registrant)

                                                                              By     /s/ Hagit Gal
                                                                              Name: Hagit Gal
                                                                              Title: Corporate Legal Counsel

Date: June 17, 2020


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